                                Case 20-10158-KBO                               Doc 1        Filed 01/27/20            Page 1 of 16


     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

                                District of     Delaware
                                              (State)
     Case number (if known):                                          Chapter   11                                                                □ Check if this is an
                                                                                                                                                     amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                 04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1. Debtor’s name                                   Southland Royalty Company LLC




2. All other names debtor used
   in the last 8 years
       Include any assumed names,
       trade names, and doing business
       as names




3. Debtor’s federal Employer                                   _
   Identification Number (EIN)



4.     Debtor’s address                           Principal place of business                                 Mailing address, if different from principal place
                                                                                                              of business

                                                   400 West 7th Street
                                                  Number           Street                                     Number       Street



                                                                                                              P.O. Box

                                                  Fort Worth                         TX         76102
                                                  City                               State     ZIP Code       City                        State         ZIP Code


                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business
                                                  Tarrant
                                                  County                                                      _________________
                                                                                                              Number      Street




                                                                                                              City                        State         ZIP Code




5.     Debtor’s website (URL)                      http://www.southlandroyaltyco.com/


                                                  HI Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.     Type of debtor
                                                  □ Partnership (excluding LLP)
                                                  □ Other. Specify:_____________________________________________________________________




Official Form 201                                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
                             Case 20-10158-KBO                        Doc 1         Filed 01/27/20              Page 2 of 16



Debtor        Southland Royalty Company LLC_____________________________                          Case number ((fknown).
              Name



                                        A. Check one:
7. Describe debtor’s business
                                        □ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        □ Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51B))
                                        □ Railroad (as defined in 11 U.S.C. § 101(44))
                                        □ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        □ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        □ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        IEI None of the above



                                        B. Check all that apply:

                                        El Tax-exempt entity (as described in 26 U.S.C. § 501)

                                        El   Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                        □ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))



                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.aov/four-diait-national-association-naics-codes .
                                              2    111


8. Under which chapter of the           Check one:
   Bankruptcy Code is the
                                        □ Chapter 7
   debtor filing?
                                        El   Chapter 9
                                        El Chapter 11. Check all that apply:
                                                              El    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                   4/01/22 and every 3 years after that).
                                                              El    The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                              □ A plan is being filed with this petition.

                                                              Q Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              □ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201 A) with this form.

                                                              □ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                        El Chapter 12


9. Were prior bankruptcy cases          g| No
   filed by or against the debtor
   Within the last 8 years?             El Yes.    District _______________________ . When _______________ Case number
                                                                                           MM / DD/YYYY
   If more than 2 cases, attach a
   separate list                                   District _______________________        When _______________ Case number
                                                                                                MM / DD/YYYY

10. Are any bankruptcy cases            El No
    pending or being filed by a
                                        □ Yes.     Debtor                                                             Relationship
    business partner or an
    affiliate of the debtor?                       District                                                           When
   List all cases. If more than 1,                                                                                                   MM /   DD   / YYYY
   attach a separate list.                         Case number, if known


 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
                           Case 20-10158-KBO                      Doc 1       Filed 01/27/20                Page 3 of 16


Debtor        Southland Royalty Company LLC_____________________________                    Case number in known).
              Name




11. Why is the case filed in this       Check all that apply:
    district?
                                        Q Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        □ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.



12. Does the debtor own or have          I2 No
    possession of any real               □ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                     What is the hazard?

                                                 □ It needs to be physically secured or protected from the weather.

                                                 □ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                 Q Other___________________________________________________________________________




                                                 Where is the property?___________________
                                                                           Number          Street




                                                                           City                                             State      ZIP Code



                                                 Is the property insured?
                                                 □ No
                                                 U Yes. Insurance agency______________________________________________________________


                                                          Contact name     ______________________________________________________________

                                                          Phone            _________________________________




            Statistical and administrative information



13.   Debtor’s estimation of            Check one:
      available funds                   □ Funds will be available for distribution to unsecured creditors.
                                        IXl After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                        □ 1-49                           □ 1,000-5,000                               □ 25,001-50,000
14.   Estimated number of               □ 50-99                          □ 5,001-10,000                              □ 50,001-100,000
      creditors                         □ 100-199                        S 10,001-25,000                             □ More than 100,000
                                        □ 200-999


                                        □ $0-$50,000                     □ $1,000,001-$10 million                    □ $500,000,001-$1 billion
15.   Estimated assets                  □ $50,001-$100,000               □ $10,000,001-$50 million                   □ $1,000,000,001-$10 billion
                                        □ $100,001-$500,000              □ $50,000,001-$100 million                  □ $10,000,000,001-$50 billion
                                        □ $500,001-$1 million            ID $100,000,001-$500 million                O More than $50 billion




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                            Case 20-10158-KBO                            Doc 1     Filed 01/27/20             Page 4 of 16



Debtor        Southland Royalty Company LLC                                                      Case number (ifknown)


                                        □     $0450,000                      □                                            gj $500,000.00141 billion
16. Estimated liabilities               □     $50,0014100,000                O                                            □-$1,000,000,001410. billion
                                        □     $100,0014500,000.              □                                            □ $10,000,000,001450 billion
                                        □     $500,00141 million             □:                                           O More than $50 billion




           Request for Relief, Declaration, and Signatures


.WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           S500.000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of        a     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                              petition.
    debtor

                                        a . .I have, been authorized to Tile this petition on behalf of the debtor.

                                        «     I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare Under penalty of perjury that the foregoing is true and correct.

                                              Executed on       01/27/2020
                                                            ’                                    ^
                                                                                                           Frank A. Pometti
                                              Signature of authorized representative of debtor             Printed name


                                              Title Chief Restructuring Officer




18. Signature of attorney
                                                                                                           Date          01/27/2020
                                              Signature Of attorney,for debtor                                           MM    / DO / YYYY



                                               M. Blake pieary;
                                              Printed name

                                               Young Conaway Stargatt & Taylor, II P
                                              Firm name

                                               1000 North King Street
                                              NUrfiber          Street

                                              Wilminaton.                                                      DC               19801
                                              City                                                             State :    :;    ZIP Code

                                              (3021 571-6714                                                    mbclearv@vost.com
                                              Contact phone                                                    Email address'.



                                               3614                                                             de:
                                              Bar number                                                       State




  Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 4
                                        Case 20-10158-KBO                        Doc 1           Filed 01/27/20                 Page 5 of 16



            Fill in this information to identify the case:
    I       Debtor name    Southland Rnvaltv Oomoanv l.LC                                                       I


            United States Bankruptcy Court for the:                                 District of Delaware
                                                                                               (State)                                                         □ Check if this is an
            Case number (If known):
                                                                                                                                                                   amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                          12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


        Name of creditor and complete                  Name, telephone number, and          Nature of the claim       indicate if      Amount of unsecured claim
        mailing address, including zip code            email address of creditor            (for example, trade.      claim is        If the claim is fully unsecured, fill in only unsecured
                                                       contact                              debts, bank loans,        contingent,     claim amount If claim is partially secured, fill in
                                                                                            professional              unliquidated,   total claim amount and deduction for value Of
                                                                                            services, and             or              collateral or setoff to calculate unsecured claim.
                                                                                            government
                                                                                            contracts)
                                                                                                                                      ' Total claim, if     Deduction for        Unsecured
                                                                                                                                      : partially           value of             claim
                                                                                                                                        secured             collateral or
                                                                                                                                                          ; setoff
                                                      IPHONE: 281-871-4000
        j HALLIBURTON ENERGY SERVICES                 ! FAX: 281-876-4455
        I PO BOX 301341                               I EMAIL:                               Trade Creditor            C/U/D                                                I $11,290,861.81
          □ALLAS TX, 75303-1341                         INGRID.ROBiNSON@HALLIBURTON.COM




            NABORS DRILLING TECHNOLOGIES                PHONE: 281-874-0035
2
            USA, INC                                    FAX: 281-872-5205
            P 0 BOX 206308                              EMAIL:                                Trade Creditor            C/U/D                                                   $ 3,777,820.61
            DALLAS TX, 75320-6308

            WAMSUTTER LLC                               PHONE: 505-632-4600
3
            ONE WILLIAMS CENTER                         FAX:
                                                        EMAiL:                               Trade Creditor             C/U/D                                                    $3,129,236.40
            P.O. BOX 2400
            TULSA OK, 74120-2400


4           MRC GLOBAL (US) INC                        PHONE: 972-602-4070
            P O BOX 240392                             FAX: 972-606-2615
                                                                                             Trade Creditor             C/U/D                                                    $2,664,019.85
            DALLAS TX, 75320-4392                      EMAIL: INFO@MRCGLOBAL.COM




            SPARTAN COMPANIES, LLC                     PHONE: 855-277-2782
5                                                      FAX:
            618 NORTH MAIN, STE B                                                                                                                                               $ 2,233,239.94
            LOGAN UT, 84321
                                                       EMAIL: INFO@SPARTANCOS.COM            Trade Creditor             C/U/D




6           F&S TRUCKING, INC
                                                       PHONE: 307-417-0224
            P O BOX 875                                FAX:                                  Trade Creditor            C/U/D                                                    $2,120,567.85
            RAWLINS WY, 82301                          EMAIL: FRITZ.INC.VW@GMAIL.COM



            BP AMERICA PRODUCTION COMPANY               PHONE: 312-856-2222
7                                                       FAX: 210-870-1008
            PO BOX 696505                                                                                                                                                   i $ 1,341,428.31
                                                        EMAIL: STEPHEN.DEGIUSTI@BP.COM;     Joint Interest Billings    C/U/D
            SAN ANTONIO TX, 78269                       THIERRY.RONDEAU@BP.COM                                                                                              j


            TAYLOR CONSTRUCTION, INC
                                                                                                                                                                            j
                                                       PHONE: 307-367-4155
8           PO BOX 1616                                FAX: 307-367-4804                     Trade Creditor
            PINEDALE WY, 82941                         EMAIL:                                                           C/U/D                                                   $ 1,130,978.36




    Official Form 204                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                   page 1
                                                                                                                                                                                                                f

                                Case 20-10158-KBO                                Doc 1                 Filed 01/27/20                 Page 6 of 16



     Debtor       Southland Royalty Company LLC_____________________________                                            Case number (//known).
                  Name




      Name of creditor and complete         Name, telephone number, and                           Nature of the claim    Indicate if             Amount of unsecured claim
      mailing address, including zip code   email address of creditor                             (for example, trade    claim Is                If the claim is fully unsecured,: fill in only unsecured
                                            contact                                               debts, bank loans,     contingent,             claim amount. If claim is partially secured, fill in
                                                                                                  professional           unliquidated,           total claim amount and deduction for value of
                                                                                                  services, and          or disputed             collateral or setoff to calculate unsecured claim.
                                                                                                  government
                                                                                                  contracts)
                                                                                                                                                 Total claim, if     Deduction for    \   Unsecured
                                                                                                                                                 partially           value of             claim
                                                                                                                                                 secured           ; collateral or
                                                                                                                                                                   > setoff

Q     (MOUNTAIN MUD SERVICE & SUPPLY        PHONE: 307-680-3181
      INC                                   FAX:                                                                          C/U/D          !                                                $1,007,488.03     |
                                                                                                    Trade Creditor
                                            EMAIL: EfSCHEID@MTMUD.NET
       130' E LINCOLN STREET                                                                                                             ?                         i
      'Gillette wy, 82716

       WYOMING DEPARTMENT OF REVENUE        PHONE: 307-777-5200
10
       122W25TH STREET                      FAX: 307-777-3632
                                                                                                                           C/U/D                                                          $984,691.00
       CHEYENNE WY, 82002-0110              EMAIL: DOR@VWO.GOV                                     Severance Taxes




11     DNOW LP                              PHONE: 281-823-4700
       P O BOX 200822                       FAX: 281-823-5233
                                                                                                  Trade Creditor           C/U/D                                                          $ 959,119.84
       DALLAS TX, 75320-0822                EMAIL:




        ROCKY MOUNTAIN GREEN                 PHONE: 307-705-1478
12
        COMPLETIONS, LLC                     FAX: 307-382-4187
                                                                                                                                                                       i
        P O BOX 836247                       EMAIL:                                               Trade Creditor           C/U/D                                                          $ 920,432.39
        RICHARDSON TX, 75083-6247

       FLASH FUNDING, LLC FOR VALIANT
13                                          PHONE: 832-778-0040
       INT PIPELINE, LLC                    FAX:
                                                                                                   Trade Creditor          C/U/D                                   I                      $915,483.50
       P 0 BOX 4745                         EMAIL: VALIANT1NTPIPELINE@GMAIL.COM
       HOUSTON TX, 77210                                                                                                                                               i


                                                 ...........       ............................
       TERRY R PITT CONSTRUCTION INC        PHONE: 307-362-8077
14
       180 POLLUX DR                        FAX: 307-362-4717
       ROCK SPRINGS WY, 82901               EMAIL: SFRENCH@TERRYPITT.COM                           Trade Creditor          C/U/D                                                          $914,431.52




15     WILLIAMS FIELD SERVICES CO LLC       PHONE: 918-573-2000
       PO BOX: 2400 MD 46                   FAX:                                                  Trade Creditor           C/U/D                                                          $914,047.49
                                            EMAIL: JEFFRY.GOBEL@WILLIAMS.COM
       TULSA OK, 74102-2400                                                                                                                                                                                 :
        R&M WELDING, INC                    PHONE: 307-362-6342
16                                          FAX: 307-362-3303
        520 WINTON CIRCLE
                                            EMAIL:                                                Trade Creditor           C/U/D                                                          $910,809.40
        ROCK SPRINGS WY, 82901



17      HARVEST FOUR CORNERS, LLC           PHONE: 505-632-4600
        PO BOX 61229                        FAX: 505-632-4628
                                                                                                                           C/U/D                                                          $ 815,648.97
                                            EMAIL:
                                                                                                   Trade Creditor
        1111 TRAVIS STREET
        HOUSTON TX, 77208


18     MS DIRECTIONAL, LLC                  PHONE: 936-442-2500
       POBOX 201567                         FAX: 936-442-2599                                      Trade Creditor          C/U/D
                                            EMAIL:                                                                                                                                         $ 804,376.60
       DALLAS TX, 75320-1567
                                            PCULBRETH@MSENERGYSERVICES.COM



        ENTERPRISE FIELD SERVICES LLC       PHONE: 713-381-6500
19      P O BOX 974364                      FAX:                                                                                                                                          $ 676,728.55
        DALLAS TX, 75397-4364               EMAIL:                                                 Trade Creditor          C/U/D



       SEMINOLE PIPELINE COMPANY            PHONE: 713-381-6500
20
       P O BOX 972866                       FAX: 405-606-4534
                                                                                                   Trade Creditor          C/U/D          |                                               $ 666,107.98
       DALLAS TX, 75210-2866                EMAIL:


                                                                                                                                             i




     Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                      page 2
               Case 20-10158-KBO                Doc 1        Filed 01/27/20        Page 7 of 16




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    )
 In re                                             )         Chapter 11
                                                    )
 SOUTHLAND ROYALTY COMPANY )                                 Case No. 20-______ (___ )
 LLC,                      )
                                                    )
                            Debtor.1               )
____________________________________ )

                        CORPORATE OWNERSHIP STATEMENT
                   PURSUANT TO FED. R. BANKR. P. 1007taim AND 7007.1

         Southland Royalty Company LLC (the “Debtor”) hereby submits, pursuant to Rules

1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the following list of

corporations that directly or indirectly own 10% or more of the Debtor.

                     Debtor                                    Direct and Indirect Corporate Owners
         Southland Royalty Company LLC                             Southland Royalty, L.P. (100%)
                                                                  Southland Holdings, LLC (100%)




1 The last four digits of the Debtor’s United States federal tax identification number is 8522. The Debtor’s mailing
  address is 400 West 7th Street, Fort Worth, Texas 76102.


NYDOCS03/1121706. IB                                     1
               Case 20-10158-KBO                Doc 1        Filed 01/27/20        Page 8 of 16




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    )
 In re                                              )        Chapter 11
                                                    )
 SOUTHLAND ROYALTY COMPANY )                             Case No. 20-_______ (          )
 LLC,                      )
                                                    )
                           Debtor.1                 )
___________________________________ )

                             LIST OF EQUITY SECURITY HOLDERS
                           PURSUANT TO FED. R. BANKR. P. 1007(al(3)

         Southland Royalty Company LLC (the “Debtor”) hereby submits, pursuant to Rule

1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following list of equity security

holders.

     Name and address of interest holder                                  Percentage interest
          Southland Royalty, L.P.
            400 West 7th Street                                                    100%
           Fort Worth, TX 76102




  The last four digits of the Debtor’s United States federal tax identification number is 8522. The Debtor’s mailing
  address is 400 West 7th Street, Fort Worth, Texas 76102.


NYDOCS03/1121707.1A                                      1
                               Case 20-10158-KBO                        Doc 1             Filed 01/27/20       Page 9 of 16


 Fill in this information to identify the case and this filing:


 Debtor Name Southland Royalty -Company LLG

 United States Bankruptcy Court for the:'   ■                            District   of Delaware
                                                                                     (State)   :

 Case number [il known}-.   __^_____            •




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

Ah individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy ease can result in fines up to $600,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 162,1341,
1619, and 3671.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined thd information in the documents checked below and l have a reasonable belief that the information is true and correct:


         LI    Schedule A/B: Assels-Real and Personal Property (Official Form 206A/B)

         g;    Schodulo D: Creditors Who Have Claims Secured by Properly (Official Form 206D)

         □     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)                    o

         □     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         G     Schedule H: Codebtors (Official Form 2C6H)

         G Summary of Assets and Liabilities, for Non-lndividu$is (Official form 2G6Sum)

         G Amended Schodulo


         G Chapter 11 or Chapter 9 OaS.es: List of Creditors Who Have the 20 Largest Unsecured Claims and Are. Not Insider's {Official Form 204) .


         G Other document that requires a declaration Consolidated Corporate Ownership Statement List of Equity Security: Holders             _______




                            01/27/2020



                                                                      Frank A. Pometti
                                                                      Printed name

                                                                      Chief Kc-btructurim; < il iicer
                                                                      Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
            Case 20-10158-KBO           Doc 1     Filed 01/27/20      Page 10 of 16




                                 RESOLUTIONS
                                      of
                        SOUTHLAND ROYALTY COMPANY LLC

                                Adopted as of January 22, 2020

       The undersigned, being the requisite number of members of the Restructuring Committee
of Southland Royalty Company LLC, a Delaware limited liability company (the “Company”)
and the requisite number of Managers comprising the Board of Managers (the “Board”) of
Southland Holdings, LLC, a Delaware limited liability company (“Southland Holdings”), hereby
waive any and all requirements for calling, giving notice of and holding a meeting and, in lieu of
such special meeting and pursuant to Section 18-302 of the Delaware Limited Liability Company
Act (the “Act”) and the Amended and Restated Limited Liability Company Agreement of
Southland Holdings, dated as of March 1, 2019, hereby consent to, authorize, and approve the
following resolutions with the same force and effect as if such resolutions had been duly
presented and adopted at a special meeting held as of this date.

       WHEREAS, Southland Holdings, LLC, a Delaware limited liability company, is the sole
shareholder of Southland Royalty, Inc., a Delaware corporation (“Southland Inc.”);

      WHEREAS, Southland Inc. is the sole member of Southland Royalty GP, LLC, a
Delaware limited liability company (“Southland GP”):

        WHEREAS, Southland GP is the general partner of Southland Royalty, L.P., a Delaware
limited partnership (“Southland LP”);

       WHEREAS, Southland LP is the sole member of the Company; and

       WHEREAS, all actions in the following resolutions are actions of the Board of
Southland Holdings, in its capacity as the sole shareholder of Southland Inc., in Southland Inc.’s
capacity as sole member of Southland GP, in Southland GP’s capacity as general partner of
Southland LP, in Southland LP’s capacity as sole member of the Company.

Commencement of Chapter 11 Case

        WHEREAS, the Company is indebted under a senior secured revolving credit facility,
dated as of March 31, 2015, by and among the Company, Citibank, N.A., as administrative
agent, and the other lenders and parties thereto (as amended and restated from time to time, the
“Credit Agreement”);

        WHEREAS, the Restructuring Committee and the Board, as relevant, have considered
one or more transactions to reorganize or restructure the indebtedness and capital structure of the
Company, including, among other things, through (i) seeking relief under the provisions of Title
11 of the United States Code (the “Bankruptcy Code”), (ii) an out-of-court restructuring of the
Company’s indebtedness, (iii) an asset or equity sale to improve liquidity or facilitate a
restructuring, (iv) other similar transactions, or (v) a combination of the above;
               Case 20-10158-KBO        Doc 1       Filed 01/27/20   Page 11 of 16




         WHEREAS, the Restructuring Committee and the Board, as relevant, have received,
reviewed and considered the recommendations of advisors and the relative risks and benefits of
commencing a chapter 11 bankruptcy case, and the undersigned desire to approve in all respects,
the filing of a voluntary petition under chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”); and

       WHEREAS, Section 6.1 of the Second Amended and Restated Limited Liability
Company Agreement of the Company provides that the Company may file a voluntary case or
seek relief under any chapter of Title 11 of the Bankruptcy Code upon express consent of
Southland LP and a majority of the members of the Restructuring Committee of the Company.

        RESOLVED, that the Company is hereby authorized, empowered and directed to:
(i) execute and verify a voluntary petition for relief under chapter 11 of the Bankruptcy Code and
(ii) cause the same to be filed in the Bankruptcy Court, in such form and at such time as such
persons executing the petition shall determine, commencing a chapter 11 case on or about
January 26, 2020 or such other date that the Restructuring Committee determines is in the best
interest of the Company (the “Chapter 11 Case”): and

         RESOLVED, that the Company is hereby authorized, empowered, and directed, to
execute and file on behalf of the Company all petitions, schedules, lists, motions, applications,
pleadings, and other papers or documents as necessary to commence the Chapter 11 Case and
obtain relief under the Bankruptcy Code, and to take any and all further acts and deeds deemed
necessary or proper to obtain such relief, including, without limitation, any action necessary to
facilitate the administration of the Chapter 11 Case.

Chapter 11 Case Advisors

        WHEREAS, on or before the date hereof, the Board approved and/or ratified the
retention of the following financial and legal advisors to assist the Company in connection with
the Chapter 11 Case:

       (i)      Shearman & Sterling LLP - general bankruptcy counsel to the Company
       (ii)     Young Conaway Stargatt & Taylor LLP - Delaware counsel to the Company
       (iii)    AP Services, LLC - as interim management services provider to the Company,
                including responsibilities for a Chief Restructuring Officer and Chief
                Administrative Officer
       (iv)     PJT Partners Inc. - investment banking advisor to the Company
       (v)      Epiq Corporate Restructuring, LLC - claims and notice agent to the Company

       RESOLVED, that the law firm of Shearman & Sterling LLP, located at 2828 N.
Harwood, Dallas, TX 75201, is hereby retained as general bankruptcy counsel for the Company
in connection with the Chapter 11 Case, subject to Bankruptcy Court approval;

       RESOLVED, that the law firm of Young Conaway Stargatt & Taylor LLP, located at
Rodney Square, 1000 North King Street, Wilmington, DE, 19801, is hereby retained as Delaware
counsel for the Company in connection with the Chapter 11 Case, subject to Bankruptcy Court
approval;


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       RESOLVED, that the advisory firm of AP Services, LLC, located at 909 Third Avenue
New York, NY 10022, is hereby retained as interim management services provider for the
Company, including in respect of Chief Restructuring Officer and Chief Administrative Officer
in connection with the Chapter 11 Case, subject to Bankruptcy Court approval;

        RESOLVED, that the investment banking and strategic advisory firm of PJT Partners
Inc., located at 280 Park Avenue, New York, NY 10017, is hereby retained as investment
banking advisor for the Company in connection with the Chapter 11 Case, subject to Bankruptcy
Court approval; and

       RESOLVED, that the legal administrative services firm of Epiq Corporate Restructuring,
LLC, located at 777 Third Avenue, New York, NY 10017, is hereby retained as claims and
notice agent for the Company in connection with the Chapter 11 Case, subject to Bankruptcy
Court approval.

General Authorization and Ratification

        RESOLVED, that all actions taken prior hereto by the Company in connection with the
transactions contemplated hereby and matters related thereto are hereby approved, ratified, and
confirmed as the acts of the Company as if each such act had been presented to and approved by
the Board, and where applicable, the Restructuring Committee, prior to being taken;

       RESOLVED, that the Company is hereby severally authorized and directed to take or
cause to be taken all such further action and to sign, execute, acknowledge, certify, deliver,
accept, record and file all such further instruments as in its judgment shall be necessary,
desirable or advisable in order to carry out the intent, and to accomplish the purposes, of the
foregoing resolutions;

       RESOLVED, that each of the Managers of the Board and each of the members of the
Restructuring Committee is hereby authorized and directed to certify these resolutions as may be
deemed necessary, advisable or appropriate in the sole discretion of such person; and

       RESOLVED, that this written consent may be executed in several counterparts, each of
which shall be deemed an original and all of which shall together constitute one and the same
instrument.




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Executed, effective as of the date first written above, by:

                               MANAGERS OF SOUTHLAND HOLDINGS, LLC



                                       James S, G




                                        ..
                                       Mark A. Welsh IV




                                       Bob R. Simpson




                                       Keith A. Hutton



                                       Vaughn O. Vennerberg II




                                       Timothy L. Petrus



                                       Brent W. Clum




       SIGNATURE PAGE TO RESOLUTIONS OF SOUTHLAND ROYALTY COMPANY LLC -
                     MANAGERS OF SOUTHLAND HOLDINGS, LLC
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Executed, effective as of the date first written above, by:

                               MANAGERS QF SOUTHLAND HOLDINGS, LLC:




                                       James S, Grain



                                       Jason DeLotenzo



                                       R, Stephen Meek III



                                       David B. Miller



                                       Mark A. Welsh IV




                                      Brent W. Glum.




       SIGNATURE PAGE TO RESOLUTIONS! OF SOUTHLAND ROYALTY COMPANY LLC
                     MANAGERS OF SOUTHLAND HOLDINGS, LLC
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Executed, effective as of the date first written above, by:

                               MEMBERS OF THE RESTRUCTURING COMMITTEE OF
                               SOUTHLAND ROYALTY COMPANY LLC:


                                               7%/A-'uteCzir              ______
                                       Mark A. Welsh IV




                                       R.



                                       Steven J. Pully




       SIGNATURE PAGE TO RESOLUTIONS OF SOUTHLAND ROYALTY COMPANY LLC -
                     MEMBERS OF RESTRUCTURING COMMITTEE
            Case 20-10158-KBO            Doc 1     Filed 01/27/20   Page 16 of 16




Executed, effective as of the date first written above, by:

                               MEMBERS OF THE RESTRUCTURING COMMITTEE OF
                               SOUTHLAND ROYALTY COMPANY LLC:



                                       Mark A. Welsh IV




                                       R. Stephen Meek III




       SIGNATURE PAGE TO RESOLUTIONS OF SOUTHLAND ROYALTY COMPANY LLC -
                     MEMBERS OF RESTRUCTURING COMMITTEE
